
710 S.E.2d 22 (2011)
STATE of North Carolina
v.
Richard Eugene FOY.
No. 29P11.
Supreme Court of North Carolina.
June 15, 2011.
Anne Gomez, Assistant Appellate Defender, for Foy, Richard Eugene.
Derrick Charles Mertz, Assistant Attorney General, for State of N.C.
Ben David, District Attorney, for State of N.C.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 24th of January 2011 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 15th of June 2011."
Upon consideration of the petition filed on the 24th of January 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
